Case 5:20-mj-00591-DUTY Document 9 Filed 11/05/20 Page 1 of 2 Page ID #:26



 1
 2
 3
 4
 5
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                   )       Case No.:   5:20-MJ00591-DUTY
11                                               )
                             Plaintiff,          )       ORDER OF DETENTION PENDING
12                                               )       FURTHER REVOCATION
                     v.                          )       PROCEEDINGS
13                                               )       (FED. R. CRIM. P. 32.1(a)(6); 18
     Matthew Seiffert                            )       U.S.C. § 3143(a)(1))
14                                               )
                             Defendant.          )
15                                               )
16         The defendant having been arrested in this District pursuant to a warrant
                                                       Southern
17 issued by the United States District Court for the _______________ District of
18 California
   ______________ for alleged violation(s) of the terms and conditions of probation
19 or supervised release; and
20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. ( x)    The defendant has not met his/her burden of establishing by clear and
23            convincing evidence that he/she is not likely to flee if released under 18
24            U.S.C. § 3142(b) or (c). This finding is based on the following:
25            (x )        information in the Pretrial Services Report and Recommendation
26            (x )        information in the violation petition and report(s)
27            ( x)        the defendant’s nonobjection to detention at this time
28            ( )         other:


                                                     1
Case 5:20-mj-00591-DUTY Document 9 Filed 11/05/20 Page 2 of 2 Page ID #:27



 1           and/ or
 2 B. ( x)   The defendant has not met his/her burden of establishing by clear and
 3           convincing evidence that he/she is not likely to pose a danger to the safety
 4           of any other person or the community if released under 18 U.S.C.
 5           § 3142(b) or (c). This finding is based on the following:
 6           (x )     information in the Pretrial Services Report and Recommendation
 7           ( x)     information in the violation petition and report(s)
 8           (x )     the defendant’s nonobjection to detention at this time
 9           ( )      other:
10
11 IT THEREFORE IS ORDERED that the defendant be detained pending the further
12 revocation proceedings.
13
14 Dated: 11/5/2020                          ____________________ _____________
                                             SHASHI H. KEWALRAMANI
15                                           UNITED STATES MAGISTRATE JUDGE
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                2
